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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                             CIVIL ACTION NO. 14-13593-GAO

       CITIBANK, N.A. as Trustee for the Benefit of SWDNSI TRUST SERIES 2010-3,
                                         Plaintiff,

                                                v.

           RENEE ANNA NAJDA a/k/a RENEE NAJDA, ANDREW NAJDA, and
                         ANY and ALL OCCUPANTS,
                        Defendants and Counterclaimants,

                                                v.

       CITIBANK, N.A. as Trustee for the Benefit of SWDNSI TRUST SERIES 2010-3,
             PENNYMAC, CORP., SPECIALIZED LOAN SERVICING, LLC,
                              and CITIMORTGAGE, INC.,
                                Counterclaim Defendants.


                                            ORDER
                                        February 9, 2016

O’TOOLE, D.J.

       Citibank, N.A.’s Motion for Reconsideration (dkt. no. 90) seeking leave to amend the

Complaint is GRANTED. Substituting Christiana Trust for Citibank after a post-filing transfer in

interest does not destroy diversity of citizenship. Freeport-McMoRan, Inc. v. K N Energy, Inc.,

498 U.S. 426, 428 (1991) (per curiam). Christiana Trust is diverse as to the defendants, Renee and

Andrew Najda. Additionally, Santander is a nominal party here. See Navarro Savs. Ass’n v. Lee,

446 U.S. 458, 461 (1980).

       It is SO ORDERED.

                                                     /s/ George A. O’Toole, Jr.
                                                     United States District Judge
